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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CONSUMER FINANCIAL PROTECTION          CASE NO. 1:17-cv-00890 (LAP)
BUREAU and THE PEOPLE OF THE
STATE OF NEW YORK, BY ERIC T.
SCHNEIDERMAN, ATTORNEY GENERAL         RD LEGAL’S MOTION ON
FOR THE STATE OF NEW YORK,             REMAND TO DISMISS

           Plaintiffs,

     v.

RD LEGAL FUNDING, LLC; RD LEGAL
FINANCE, LLC; RD LEGAL FUNDING
PARTNERS, LP; and RONI DERSOVITZ,

           Defendants.


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I.     INTRODUCTION

       Defendants RD Legal Funding, LLC, RD Legal Finance, LLC, RD Legal Funding

Partners, LP, and Roni Dersovitz (collectively, “RD Legal”) move on remand to dismiss this

enforcement action filed by the Consumer Financial Protection Bureau (“CFPB”) because it was

brought by an unconstitutionally constituted agency, and the CFPB’s untimely attempt to

subsequently ratify this action cannot cure the agency’s constitutional infirmity.

       Here is what is not in front of this Court. First, whether the CFPB’s structure violated the

Constitution has been conclusively determined. This Court was right, and the CFPB wrong. In

Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2192, 2202 (2020), the Supreme Court unequivocally

held that the CFPB’s “structure” “violate[d] the separation of powers.” Second, former-Director

Kathleen Kraninger’s attempted ratification is the only one at issue here. This Court previously

rejected then-Acting Director Mick Mulvaney’s attempted ratification, and the CFPB did not

challenge that decision on appeal. Accordingly, the Second Circuit specifically “remand[ed] for

the district court to consider in the first instance the validity of Director Kraninger’s ratification

of this enforcement action.” 1 (ECF No. 119 (emphasis added.))

       The questions before this Court on remand are thus narrow and specific: first, whether

ratification applies at all to separation-of-powers violations like this—a question Seila Law left

open; and second, even if it does, whether Director Kraninger’s attempt to ratify the CFPB’s

initial bringing of the enforcement action—long after the statute of limitations for doing so had

run—can remedy the underlying constitutional violation. The answer to both questions is no.


       1
         See Sompo Japan Ins. Co. of Am. v. Norfolk S. Ry. Co., 762 F.3d 165, 175 (2d Cir.
2014) (where a mandate limits the issues open for consideration on remand, a district court
ordinarily cannot consider additional issues); United States v. Ben Zvi, 242 F.3d 89, 95 (2d Cir.
2001) (where mandate was “unambiguously limited in scope,” court could not consider
extraneous issues or reopen issues that were ripe but not raised in initial appeal).

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II.    BACKGROUND

       The CFPB filed this enforcement action with the New York Attorney General on

February 7, 2017. (ECF No. 1.) This Court initially dismissed the case holding that the CFPB’s

structure was unconstitutional and the Consumer Financial Protection Act not severable. (ECF

No. 80.) While that decision was pending on appeal, the Supreme Court decided Seila Law. The

Second Circuit then summarily affirmed this Court’s constitutionality ruling, reversed the

severability ruling, and remanded for the Court to consider whether former-Director Kraninger

had validly ratified this enforcement action while this case was on appeal. (ECF No. 119.)

       This is not the CFPB’s first tilt at ratification. On May 11, 2018, then-Acting Director

Mulvaney filed a purported ratification of the bringing of this action before this Court. This

Court, however, rejected that attempt at ratification. (ECF No. 80 at 101-03.) As this Court

correctly concluded, the “CFPB’s Ratification does not address accurately the constitutional

issue raised in this case, which concerns the structure and authority of the CFPB itself, not the

authority of an agent to make decisions on the CFPB’s behalf.” (Id. at 101 (emphasis added).)

The CFPB did not contest this determination on appeal. (CA Dkt. 114 at 14 n.5.)

       Instead, after the Supreme Court decided Seila Law and while this case was on appeal,

the CFPB’s then-Director Kraninger submitted a declaration dated July 8, 2020. (CA Dkt. No.

237-2.) In that declaration, she asserted that she understood she was removable for cause, that

she had considered the bases for bringing the enforcement action and for appealing its dismissal,

and that she ratified both decisions. (Id.) That declaration came more than three years after the

CFPB brought this enforcement action and nearly two years after it filed its notice of appeal—

well beyond the statutory periods for either. See 12 U.S.C. § 5564(g)(1) (three year statute of

limitations); Fed. R. App. P. 4(a)(1)(B)(ii) (requiring notice of appeal be filed within 60 days

where a federal agency is a party). The Second Circuit declined to reach the propriety of that

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attempted ratification on appeal, instead remanding for this Court to consider its validity “in the

first instance.” 2 (ECF No. 119 at 4.)

III.    THE RATIFICATION DOCTRINE DOES NOT APPLY

        As an initial matter, the Supreme Court did not assume, let alone decide, that ratification

could as a legal matter cure the CFPB’s constitutional violations. And for good reason: The

separation of powers challenge that RD Legal raised to the CFPB’s structure, and which was

decided in Seila Law, involved the structure and authority of the CFPB itself, not an agent’s lack

of authority to make decisions on behalf of the CFPB. The problem, as the Supreme Court saw

it, was not too little power, but too much. Seila Law, 140 S. Ct. at 2201, 2203 (repeatedly

emphasizing the “significant” power accorded the CFPB director). 3 In the CFPB’s view, the

solution to those two problems is the same (and effectively toothless as a sanction). It is not.

Accordingly, as this Court previously concluded when considering the CFPB’s prior attempted

ratification, the doctrine itself—which operates to give effect to the acts of an agent acting

without authority—is irrelevant here. (ECF No. 80 at 101.)

        A.       The Ratification Doctrine Applies When an Agent Acts Without Authority

        The fundamental problem with applying the ratification doctrine here is that ratification is

a principle of agency law employed when a purported agent acts without authority, but the CFPB

seeks to apply ratification not to the acts of an agent (the Director), but to the filing of this


        2
          The Second Circuit’s mandate did not instruct this Court to address the validity of
Director Kraninger’s untimely attempt to ratify the CFPB’s notice of appeal. That issue is still
potentially ripe for Supreme Court review, and RD Legal continues to consider whether to
petition for certiorari.
        3
         That is also consistent with the fact that the Supreme Court did not focus simply on the
absence of for-cause removal. To the contrary, it acknowledged that “several other features of
the CFPB combine to make the Director’s removal protection even more problematic” because
“the agency’s unique structure also forecloses certain indirect methods of Presidential control.”
Seila Law, 140 S. Ct. at 2204.

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enforcement action by the principal itself (the CFPB). See FEC v. NRA Political Victory Fund,

513 U.S. 88, 98 (1994) (hereinafter “NRA Victory Fund”). That it cannot do.

       “[R]atification starts with the assumption that the agent did not have actual authority at

the time he acted,” GDG Acquisitions LLC v. Government of Belize, 849 F.3d 1299, 1310 (11th

Cir. 2017), and addresses the effect of a principal’s subsequent approval of that action. See also

Wilkes-Barre Hosp. Co. v. NLRB, 857 F.3d 364, 371 (D.C. Cir. 2017) (“[R]atification occurs

when a principal sanctions the prior actions of its purported agent.”) (citation omitted). This

fundamental premise is recognized in both the Restatement (Second) of Agency and the

Restatement (Third) of Agency. See Restatement (Second) of Agency § 82 (1958) (ratification

gives effect to unauthorized act of an agent); Restatement (Third) of Agency § 4.01(1) (2006)

(defining ratification as “the affirmance of a prior act done by another, whereby the act is given

effect as if done by an agent acting with actual authority”) (emphasis added). The Restatement

(Third) of Agency even explains that the result of a valid ratification is to give effect to the

agent’s act as if had been done with “actual authority.” Restatement (Third) of Agency § 4.02

(2006). Ratification is about attribution—when a principal can properly be held responsible for

an act by an otherwise unauthorized agent.

       But here the constitutional problem was not simply that of the authority of a single,

unremovable officer, but of the unconstitutionally structured agency as a whole. Put differently,

the problem was not an agent with too little authority, but a principal with too much. That is not

a situation to which agency law or ratification applies.

       When a situation involves conduct by “an actor [who] is not an agent and does not

purport to be one,” the doctrine of ratification does not apply. Restatement (Third) Of Agency

§ 4.03 cmt b (2006). In situations (like here) involving the unauthorized conduct of the principal

itself or conduct by someone not purporting to act as an agent, “the agency-law doctrine of

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ratification is not a basis on which another person may become subject to the legal consequences

of the actor’s conduct. Other bodies of law govern the circumstances under which such a

consequence might occur.” Restatement (Third) of Agency § 4.03 (2006) (emphasis added).

Unlike ratification, though, those other bodies of law do not relate back. See also id. § 4.04

(explaining, for example, that “a person not in existence at the time of an act or transaction may

not subsequently ratify it,” but “may elect to be bound” by the act through doctrine of adoption,

which does not relate back).

          B.     The Ratification Doctrine Cannot Cure Unauthorized Acts by a Principal

          Because ratification is a creature of agency law, the doctrine does not apply to situations

that do not involve purported agents acting without authority. See, e.g., Kristensen v. Credit

Payment Servs. Inc., 879 F.3d 1010, 1014 (9th Cir. 2018) (“When an actor is not an agent and

does not purport to be one, the doctrine of ratification does not apply.”) (quoting Restatement

(Third) of Agency § 4.03)); Perry v. Scruggs, 17 F. App’x 81, 91 n.1 (4th Cir. 2001) (finding

“doctrine of ratification does not apply” where situation did not involve a purported agent acting

without authority); Parmenter v. Fed. Deposit Ins. Corp., 925 F.2d 1088, 1093 n.1 (8th Cir.

1991) (“[I]f no agency relationship exists at all, the doctrine of ratification does not apply.”)

(quoting H. Rueschlein & W. Gregory, The Law of Agency and Partnership, § 27, at 73 (2d ed.

1990)).

          As this Court correctly recognized previously, the constitutional issues here “concern the

structure and authority of the CFPB itself, not the authority of an agent to make decisions on the

CFPB’s behalf.” (ECF No. 80 at 101.) Indeed, as explained in Seila Law, the constitutional

issues were not whether Director Cordray acted within his authority in purporting to authorize

the CFPB to take action in the first instance, but whether at that time, the CFPB’s structure

violated the separation of powers. See, e.g., Seila Law, 140 S. Ct. at 2192 (“We therefore hold

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that the structure of the CFPB violates the separation of powers.”). The Court in Seila Law

recognized that the problem with CFPB’s structure was that it allowed the Director to wield too

much unchecked authority, not that the Director was acting without authority. See id. at 2191

(“[T]he Director wields vast rulemaking, enforcement, and adjudicatory authority over a

significant portion of the U. S. economy.”).

       By contrast, to support its ratification efforts, the CFPB has previously relied upon cases

involving agency officials serving in violation of the Appointments Clause. In those cases,

unlike here, the agency officials (the agents) are acting without authority on behalf of the

principal (the agency). Therefore, they fall squarely within proper scope of the ratification

doctrine. See CFPB v. Gordon, 819 F.3d 1179, 1192 (9th Cir. 2016) (holding that, after

invalidation of CFPB Director’s recess appointment, the Director’s “ratification, done after he

was properly appointed as Director, resolves any Appointments Clause deficiencies”); see also

Wilkes-Barre, 857 F.3d at 371 (holding that, after invalidation of Board members’ recess

appointments, NLRB properly ratified the appointment of its Regional Director who, in turn,

ratified his prior unauthorized actions).

       This case stands in stark contrast to Gordon, the primary case upon which the CFPB has

relied. Gordon involved an enforcement action initiated during former-Director Cordray’s

invalid recess appointment. 819 F.3d at 1185-86. The Ninth Circuit held that Cordray’s

subsequent ratification of his own prior authorization of the action was sufficient, because the

principal (the CFPB itself) had the authority to bring the enforcement action and the issue was

Cordray’s authority as director during his invalid recess appointment. Id. at 1191. Gordon thus

expanded traditional notions of ratification and stands for the principle that an authorized agent

can ratify its own prior unauthorized decisions. Even Gordon, however, does not stand for the

principle that an authorized agent can ratify the prior unauthorized acts of the principal. In that

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situation, the ratification doctrine does not apply. See Restatement (Second) Of Agency § 84

(1958) (principal “cannot ratify” an act “which, when done” could not have been done by the

principal); Restatement (Third) Of Agency § 4.03 (2006) (other doctrines, not ratification, apply

when actor is not an agent).

       Following Seila Law, courts that have addressed CFPB ratification have mostly not

addressed the threshold question whether the ratification doctrine can apply to a situation where

an agent is attempting to ratify the unauthorized acts of the principal. For example, on remand

in Seila Law, the Ninth Circuit reframed the Supreme Court’s decision as pertaining solely to the

Director’s authority, not the authority of the CFPB itself. See CFPB v. Seila Law LLC, 984 F.3d

715, 719 (9th Cir. 2020). To do so, the Ninth Circuit concluded that if there had been a

structural defect with the CFPB, the Supreme Court would not have remanded the case to

determine if there was a valid ratification. Id.; see also CFPB v. Citizens Bank, N.A., 2020 WL

7042251, at *8 (D.R.I. 2020) (declining to condemn “all past (or just all pending) CFPB actions,

without the possibility of ratification” because of potential for regulatory disruption). But these

opinions misread the Supreme Court’s decision. 4 The Supreme Court expressed no view on



       4
         Decisions like Citizens Bank apparently declined to provide a meaningful remedy for
the underlying constitutional violation even where there is no timely or proper ratification
because the proper remedy (dismissal) would be, in its view, too sweeping. Those concerns are
misplaced. First, absent some incentive to observe important constitutional limits in determining
agency authority and structure (and for litigants to enforce them), those limits will inevitably
erode. To suggest that there should be no effective remedy undercuts the seriousness of those
violations and the underlying separation of powers principles. Second, those courts simply
assumed that sweeping dismissals of every agency action would be required and concluded that
that was too high a constitutional price. That is wrong: when there is no timeliness issue, the
CFPB can always redo its action. It can, for example, issue a new civil investigative demand.
Thus, even if ratification could apply, it is only where, as here, the action in question must be
done within a particular limitations period and the ratification occurs outside that period, that an
agency’s action cannot be redone or adopted. See infra, Section IV.B. And third, the reasoning
of these courts ignores the fact that other state and federal enforcement agencies exist (and as in
(footnote continued)

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whether the ratification doctrine applies or whether there had, in fact, been a valid ratification.

Instead, the Court expressly remanded the ratification issue because “[t]he parties dispute

whether this alleged ratification in fact occurred and whether, if so, it is legally sufficient to cure

the constitutional defect in the original demand. That debate turns on case-specific factual and

legal questions not addressed below and not briefed [to the Supreme Court].” Seila Law, 140 S.

Ct. at 2208 (emphasis added). Seila Law expressly did not address the legal sufficiency of the

ratification doctrine itself and does not allow courts to make an end-run around the fact that, as a

matter of law, the ratification doctrine does not apply to an agent’s attempt to ratify an

unconstitutionally structured principal’s past acts.

        Unlike the issues in Gordon, the constitutional infirmity here implicated the CFPB’s

authority—i.e., the authority of the principal—to bring this action in the first place. Simply put,

this case was filed and prosecuted by the CFPB (the principal) itself, not Director Cordray (the

agent). See 12 U.S.C. § 5564(a)-(b) (enforcement actions may be brought in Bureau’s own

name). It thus involves the CFPB’s past actions while its structure violated the separation of

powers, and that violation arose from the Director’s excess of authority, not the absence of it.

That problem could not be ratified by Director Kraninger because the constitutional problem

does not implicate agency or ratification principles at all. If the principal, once properly

constructed, acts in exactly the same way as before, that is a new act, not a ratification of a prior

act. As a new act, the principal must then comply with all ordinary jurisprudential rules, such as

statutes of limitations and the like.




this case, the New York Attorney General) that have aggressively sought to enforce the same
claims as the CFPB and therefore the remedy is limited.

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        There is no basis for the CFPB’s claim that an agent (Director Kraninger) may ratify the

prior act of the principal (the CFPB). To the contrary, neither the Supreme Court nor the Second

Circuit have even gone as far as Gordon (i.e., to allow a now-authorized agent to ratify its own

prior unauthorized acts) and instead for nearly 150 years have described ratification in its

common law terms as a principal ratifying the unauthorized acts of an agent, not an agent

ratifying the unauthorized acts of the principal. See, e.g., Cook v. Tullis, 85 U.S. 332 (1873)

(describing ratification by principal of acts by “an individual pretending to be an agent”); Clews

v. Jamieson, 182 U.S. 461, 483 (1901) (“A principal can adopt and ratify an unauthorized act of

his agent . . . .”); Leviten v. Bickley, Mandeville & Wimple, Inc., 35 F.2d 825, 827 (2d Cir. 1929)

(“Ratification” is the “subsequent adoption” by a principal of an act done by another “while

purporting to act as [that principal’s] agent”); see also In re Vargas Realty Enter., Inc., 440 B.R.

224, 234 (S.D.N.Y. B.R. 2010) (“Ratification is the express or implied adoption” by the principal

of “the unauthorized acts of an agent.”) (cleaned up). To apply ratification here would stretch

the doctrine beyond recognition.

IV.     EVEN IF THE RATIFICATION DOCTRINE APPLIES, DIRECTOR
        KRANINGER’S ACTIONS WERE INEFFECTIVE AND UNTIMELY

        Even if this Court were to conclude that ratification is theoretically applicable (and to be

clear, it is not), Director Kraninger’s belated attempt at ratification nevertheless fails. For a

ratification to be effective, “it is essential that the party ratifying [i.e., the principal] should be

able” (1) “to do the act ratified at the time the act was done,” and (2) “also at the time the

ratification was made.” NRA Victory Fund, 513 U.S. at 98 (cleaned up). That two-prong test dates

back to at least 1873 and continues to be binding precedent. See Cook, 85 U.S. at 339. To satisfy

the test, the party seeking to assert ratification must satisfy both prongs, but the CFPB can satisfy

neither. Fitzgerald v. McFadden, 88 F.2d 639, 643 (2d Cir. 1937) (burden on party asserting


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ratification); see also LHC Nashua P’ship, Ltd. v. Sagamore Nashua, L.L.C., 659 F.3d 450, 461

(5th Cir. 2011) (noting that “one seeking to prove ratification” bears the burden of proof).

       A.      The CFPB Lacked Authority To Sue When It First Brought This Action (And
               Filed Its Notice Of Appeal)

       The CFPB cannot satisfy the first prong of the NRA Victory Fund test for the simple

reason that ratification cannot “give legal significance to an act which was a nullity from the

start.” Newman v. Schiff, 778 F.2d 460, 467 (8th Cir. 1985). An unconstitutionally structured

agency “lacks authority to bring [an] enforcement action.” FEC v. NRA Political Victory Fund,

6 F.3d 821, 822 (D.C. Cir. 1993) (“Victory Fund I”); see, e.g., Noel Canning v. NLRB, 705 F.3d

490, 493, 514 (D.C. Cir. 2013), aff’d sub nom. NLRB v. Noel Canning, 573 U.S. 513, 557 (2014)

(structural constitutional defect made the NLRB’s proceedings “void ab initio”). Accordingly,

the appropriate remedy for such a constitutional violation is dismissal. Victory Fund I, 6 F.3d at

828 (when a regulated party “raise[s] [a] constitutional challenge as a defense to an enforcement

action,” “no theory . . . would permit [a court] to declare the [agency’s] structure unconstitutional

without providing relief”); see also Seila Law, 140 S. Ct. at 2208 (plurality), 2220 (Thomas, J.,

joined by Gorsuch, J., concurring in part and dissenting in part) (majority recognizing that

dismissal is the “straightforward remedy” for the undisputed “constitutional defect”). To

conclude, as the CFPB does, that so long as some subsequent director at some later point blesses

the decision, nothing else need be done, effectively leaves those asserting such violations with no

meaningful remedy. But absent meaningful relief for successful constitutional challenges, there

is no incentive to raise them. Lucia v. SEC, 138 S. Ct. 2044, 2055 n.5 (2018).

       The Ninth Circuit’s recent decision on remand in CFPB v. Seila Law does not change that

analysis. There, the court concluded that the CFPB had the authority to issue a civil investigative

demand when it was initially issued because its “constitutional infirmity relate[d] to the Director


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alone, not to the legality of the agency itself.” 984 F.3d 715, 718-20 (9th Cir. 2020) (citing FEC

v. NRA Political Victory Fund, 513 U.S. 88, 98 (1994)). But that is wrong. In Seila Law, the

Supreme Court expressly held that the CFPB’s structure violated the separation of powers and

that, as “an agency,” it has “no place in our constitutional structure.” 5 140 S. Ct. at 2201

(emphasis added). Indeed, the Court extensively discussed other agencies whose structures did

not violate the separation of powers, despite having “good-cause tenure” protection for their

officers. Id. at 2201 (“An agency with a structure like that of the CFPB is almost wholly

unprecedented”). Because the separation of powers issue was not limited to a single individual

but to the agency as a whole, the agency itself lacked constitutional authority to act. 6

       B.      The CFPB Lacked Authority To Ratify This Suit After The Statute of
               Limitations Had Run

       The CFPB cannot satisfy the second prong of the NRA Victory Fund test either. That is

because Director Kraninger’s attempted ratification on July 8, 2020, executed more than three

years after the CFPB brought the underlying enforcement action (February 7, 2017)—and more

than two years after the CFPB noticed its appeal (September 14, 2018)—came far too late. See

12 U.S.C. § 5564(g)(1) (three year statute of limitations); Fed. R. App. P. 4(a)(1)(B)(ii)

(requiring notice of appeal be filed within 60 days).




       5
         While Seila Law also held that by severing the for-cause removal provision, the agency
could continue to operate prospectively, implicit in that holding is that while the for-cause
removal provision was in place—i.e., at the time this action was filed—the agency was not
constitutionally operational, otherwise there would have been no need for severance at all. See
Seila Law, 140 S. Ct. at 2192.
       6
         The Supreme Court is currently considering similar issues in Collins v. Mnuchin, Case
No. 19-422. Specifically, two of the issues before the Court are: (1) whether the Federal
Housing Finance Agency’s structure, which is comparable to the CFPB’s, violates the separation
of powers; and (2) whether courts must set aside a final agency action taken by the FHFA while
it was unconstitutionally structured.

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       As the Supreme Court explained, “[i]f an act to be effective in creating a right against

another or to deprive him of a right must be performed before a specific time, an affirmance is not

effective against the other unless made before such time.” NRA Victory Fund, 513 U.S. at 98

(emphasis added) (quoting Restatement (Second) of Agency § 90 (1958)). In fact, the Supreme

Court gave two examples from the Restatement (Second) of Agency where the ratification doctrine

is ineffective, both of which apply here: “The bringing of an action, or of an appeal, . . . cannot be

ratified after the cause of action or right to appeal has been terminated by lapse of time.” NRA

Victory Fund, 513 U.S. at 98 (quoting Restatement (Second) of Agency § 90 cmt. A (1958)).

       Applying that principle, the Supreme Court held that the Solicitor General could not

retroactively ratify the FEC’s unauthorized decision to file for certiorari after the time for filing

had lapsed. It therefore dismissed the petition for want of jurisdiction. Following NRA Victory

Fund, courts have consistently distinguished between attempts to ratify litigation that occurred

after the running of the statute of limitations and those that occurred before. Compare Benjamin

v. V.I. Port Auth., 684 F. App’x 207, 212 (3d Cir. 2017) (affirming dismissal where ratification

came after statute of limitations ran); with Advanced Disposal Servs. E., Inc. v. NLRB, 820 F.3d

592, 604 (3d Cir. 2016) (“NRA timing issue is not implicated here” (cleaned up)); Doolin Sec.

Sav. Bank, F.S.B. v. Office of Thrift Supervision, 139 F.3d 203, 213 (D.C. Cir. 1998) (ratification

permissible because “timing problem posed in NRA is not present here” and a valid officer was

not barred from “starting the administrative proceedings over again”), superseded by statute on

other grounds, Jooce v. FDA, 981 F.3d 26, 28 (D.C. Cir. 2020), petition for cert. pending.




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       None of the cases on which the CFPB relies in the parties’ joint February 18, 2021

submission involve that same timing issue. 7 (ECF No. 121.) Take for example, the Ninth

Circuit’s decision on remand in Seila Law LLC v. CFPB, 984 F.3d 715, 718-20 (9th Cir. 2020),

in which the Court expressly acknowledged that ratification must occur within the statutory

limitations period. It concluded that the ratification of the civil investigative demand was

nonetheless valid because the “statutory limitations period pertains solely to the bringing of an

enforcement action, which the CFPB has not yet commenced.” Id. at 719. Similarly, in CFPB v.

Citizens Bank, N.A., the enforcement action was brought a few months before the Supreme

Court’s decision in Seila Law, and the ratification came days after. 2020 WL 7042251, at *12.

The court there concluded that the CFPB could ratify its earlier tolling agreements, without

which the statutes of limitations would have run, but in so doing, it expressly distinguished

between the Bureau’s decisions to bring civil enforcement actions which fall at “one end of the

spectrum” and “ministerial tasks, for which ratification would be absurd” at the other. Id.

Tolling agreements, it concluded, were both “mundane” and “ministerial.” Id. At that other end

of the spectrum, though, the court acknowledged that “Seila Law calls into question all pending

civil actions”—including this one. Id. (emphasis added).



       7
          The only case that concluded that the CFPB could nonetheless maintain its action despite
an untimely ratification did so by invoking equitable tolling (which appears to be the only time
equitable tolling has been used in the context of ratification). But in so doing, the court conceded
that equitable tolling was an “extraordinary” form of relief and that absent that relief, “assuming
that the CFPB discovered the violations more than three years prior to the July, 2020, ratification,
Director Kraninger would not now have the power to reconsider the prior decision to bring suit, as
the statute of limitations has expired.” CFPB v. Navient Corp., No. 3:17-CV-101, 2021 WL
134618, at *10 (M.D. Pa. Jan. 13, 2021), motion to certify appeal granted, No. 3:17-CV-101,
2021 WL 772238 (M.D. Pa. Feb. 26, 2021). That court, however, subsequently stayed the
enforcement action and certified its decision for interlocutory appeal, acknowledging that the
availability of equitable tolling was at a minimum unsettled under the law.
(footnote continued)

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         Here, Director Kraninger sought to ratify both the bringing of the enforcement action and

the CFPB’s subsequent appeal—actions that are the purest exercise of executive power “too late

in the day to be effective.” 8 NRA Victory Fund, 513 U.S. at 98. Thus, under NRA Victory Fund,

the only thing this Court can do is dismiss the CFPB’s action.

V.       CONCLUSION

         This action began with a fundamental dispute over the constitutionality of the CFPB’s

structure. For more than three years, the CFPB defended the constitutionality of its structure.

Then, only after judgment was entered in this Court and briefing complete in the Second Circuit,

did the CFPB reluctantly reverse course, acknowledging, as Director Kraninger did, that its

structure was unconstitutional. Then, only after its constitutionality arguments were squarely

rejected in Seila Law, did the CFPB attempt to ratify this enforcement action and its prior appeal.

That is far too little, and far too late. The Court should dismiss the CFPB’s suit without leave to

amend.

 Dated this 12th day of March, 2021.        Respectfully submitted,

                                            /s/ Michael D. Roth
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         8
         Appellate courts are also facing the timing issue. The Fifth Circuit in CFPB v. All
American Check Cashing, Inc., et al., No. 18-60302 (5th Cir.), will address whether the CFPB
can maintain an enforcement action ratified after the statute of limitations has run, but has stayed
proceedings pending Mnuchin v. Collins, No. 19-563 (U.S.). The Ninth Circuit has called for
additional briefing in CFPB v. Cashcall, Inc., No. 18-55407 (9th Cir.), on the ratification issue.
The issue has also been certified for appeal to the Third Circuit. See supra at 12 n.7.

                                                 14
